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 5
     Attorney for Defendant
 6   ANGEL PANTOJA-LOPEZ
 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,                   )     Case № 2:11-CR-0419-TLN-02
                                                 )
10                   Plaintiff,                  )           2nd AMENDED MOTION TO
                                                 )        CONTINUE RESTITUTION HEARING;
11           vs.                                 )                   ORDER
                                                 )
12   ANGEL PANTOJA-LOPEZ,                        )
                                                 )
13                   Defendant.                  )
                                                 )
14
15          Defendant ANGEL PANTOJA-LOPEZ, by his counsel, Heather Williams, Federal
16   Defender, through Douglas Beevers, Assistant Federal Defender, moves the Court to continue
17   the hearing date set for a restitution hearing in this case until September 4, 2014. As grounds for
18   the motion, Defendant Pantoja-Lopez states that he needs two additional weeks to obtain
19   information which is necessary to determine the exact amount of restitution owing in this case.
20   According to the undisputed facts in the pre-sentence report co-defendant Yem started stealing
21   cellular telephones from the victim AT&T before the defendant became involved with the crime.
22   It is therefore undisputed that the restitution amount for Mr. Pantoja-Lopez should be less than
23   Mr. Yem’s restitution award by at least one cellular telephone. Mr. Yem is the only individual
24   who knows how many telephones he stole before Mr. Pantoja-Lopez joined the conspiracy, and
25   Mr. Yem is set to plead guilty on August 28, 2014. Once Mr. Yem pleads guilty he will be
26   obligated to attend a pre-sentence interview in which he will be required to explain the
27   involvement of both participants. Based on Mr. Yem’s statements the Court will be easily able
28   to determine the exact total of Mr. Pantoja-Lopez’ restitution. The difference is most likely less


                                                      1                             Motion to Continue
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 1
     than $3000, but the defendant is entitled to a correct restitution calculation.
 2
            In addition, Defense counsel needs to be out of town for the next two weeks for
 3
     investigation to be prepared for the United States v. Loomis trial 2:12 CR 315 JAM.
 4
     SUBMITTED: August 19, 2014.
 5
                                                    HEATHER E. WILLIAMS
 6                                                  Federal Defender
 7
                                                    s/ Douglas J. Beevers________
 8                                                  DOUGLAS J. BEEVERS
                                                    Assistant Federal Defender
 9                                                  Attorneys for ANGEL PANTOJA-LOPEZ

10
11
12                                                 ORDER

13          The Court finding that the parties agree that restitution in an amount of at least $87,000
14   must be ordered, and that the Defendant has requested a continuance to verify the exact dollar
15
     sum of restitution, IT IS HEREBY ORDERED that Defendant Pantoja-Lopez’ motion to
16
     continue the restitution hearing until September 4, 2014 at 9:30 a.m. is granted. The Court finds
17
     that Defendant’s motion to continue tolls the 90 day statutory period to hold a restitution hearing.
18
19   Dated: August 20, 2014

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21
22
23                                   Troy L. Nunley
                                     United States District Judge
24
25
26
27
28


                                                        2                              Motion to Continue
